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Good afternoon Your Honor,

On January 6, 2021, I rose to the occasion once again as a police officer. I have given half of my life to
public service. I’m here today because I wanted to make sure that Mr. Fitzsimons is held accountable
for taking part in the violence of that fateful day.

Mr. Fitzsimons’s actions during the insurrection severely injured me when he was tearing my arm and
shield as he violently pulled me into the mob. I was certain I would not survive that ordeal since I was
already aware of officers being dragged into the crowd. Michael Fanone was punched and tased
multiple times. He was beaten and tased so much that he suffered several heart attacks. Now,
imagine me going through what happened to Fanone on top of my other injuries: someone
asthmatic, already exhausted, bleeding from both hands, with a maimed foot, hit on the head,
sprayed with pepper and bear spray, beaten, punched, pushed, pulled, and assaulted by many other
rioters as they try to gain entrance. I’m certain I would not have survived being dragged as
Fitzsimons intended. I refused to being taken into the mob. He is lucky I made a choice not to use
lethal force on him, but I came very close to.

At the mouth of the tunnel, he waited until I was distracted trying to assist my fellow officers who
have fallen, to grab me. He knew what he was doing. He knew I was an officer and that officers
there at that location were trying to restore order and hold the line. More than 140 officers were
injured – as I was – by the mob of insurrectionists he joined. Even after being pepper sprayed and hit
so returned, again, for a second time and went berserk.

Today, he is in his best behavior seeking leniency and sounding remorseful. I don’t buy it, and neither
should you. I had done what he did, he would still be wearing a cast and suing for damages. He knew
what he was doing. Due to his actions as a member of the mob, my family and I have suffered
physically, mentally, and financially. He ended my law enforcement career. I can no longer do the job
I loved and trained my whole life for due to my injuries. Nor take the lieutenant promotion I
prepared and passed as I recovered. He changed my life for the worse and I might never fully
recover.

Your Honor, I believe that if he were given a second chance, Mr. Fitzsimons would not hesitate to
return to the Capitol and again go through multiple layers of security to assault me. The whole
country and the world witnessed it live on TV and it was a horrific chaos. I lived through the
onslaught as it was happening, and I barely survived it. I still have PTSD, remembering what happened
to me and my colleagues that day.

I’m asking you for the maximum years in prison to deter him and others from repeating this crime.
Failure to hold Mr. Fitzsimons accountable will result in the likelihood of another January 6 but next
time, I won't be there to do what I did to protect everyone. Downplaying what transpired and not
punishing the violent mob for their roles would make it more likely to recur. Everything my fellow
officers and I sacrificed would be desecrated. We defended the Capitol, not from a foreign entity, but
from fellow Americans who attacked us. As an immigrant who loves America, this still shocks me. If
the attack was done by another group, we would have called it as a terrorist attack. Mr. Fitzsimons
should receive such sentence for trying to violently overturn U.S. democracy.
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Your Honor, it wasn’t by chance that all those elected officials and their staff made it out to safety on
January 6. They weren’t harmed - but not because of the lack of trying by the mob that Mr.
Fitzsimons was part of. Officers, like me, risked our lives to stop people like HIM from threatening,
killing, executing, and overthrowing our government. Please don’t desecrate the sacrifices I made
that day, or the sacrifices of my fellow police officers who died due to the events of that day. If the
events of January 6 would have happened here in this courthouse or your home—where you and
you, your family and friends were beaten, threatened and feared for your and their lives, you would
want accountability.

Thank you.

Sincerely,
